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 1                                                                The Honorable James L. Robart

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8
   STATE OF WASHINGTON and                            CIVIL ACTION NO. 2:17-cv-00141-JLR
 9 STATE OF MINNESOTA,

10                         Plaintiffs,

11               v.                                    JOINT STATUS REPORT
12 DONALD TRUMP, in his official
   capacity as President of the United
13 States; U.S. DEPARTMENT OF
   HOMELAND SECURITY; JOHN F.
14 KELLY, in his official capacity as
   Secretary of the Department of
15 Homeland Security; TOM SHANNON,
   in his official capacity as Acting
16 Secretary of State; and the UNITED
   STATES OF AMERICA,
17
                           Defendants.
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19          Pursuant to the Court’s February 3, 2017 Order (ECF No. 52), the parties hereby

20   submit this joint status report, proposing a briefing schedule for Plaintiffs’ motion for

21   preliminary injunction.    The parties request that the Court enter the following briefing

22   schedule:

23          Plaintiffs’ motion for preliminary injunction due by 11:59pm PST on February 9, 2017

24          Defendants’ opposition due by 11:59pm PST on February 15, 2017

25          Plaintiffs’ reply due by 11:59pm PST on February 17, 2017

26
     JOINT STATUS REPORT                          1                 ATTORNEY GENERAL OF WASHINGTON
                                                                          800 Fifth Avenue, Suite 2000
                                                                            Seattle, WA 98104-3188
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1           It is Defendants’ position that the Court lacks jurisdiction to decide Plaintiffs’

2    forthcoming motion for preliminary injunction until the Ninth Circuit resolves Defendants’

3    pending appeal of this Court’s February 3, 2017 Order. See Notice of Appeal, ECF No. 53; see

4    also Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982) (“The filing of a notice

5    of appeal is an event of jurisdictional significance—it confers jurisdiction on the court of

6    appeals and divests the district court of its control over those aspects of the case involved in the

7    appeal.”); Prudential Real Estate Affiliates, Inc. v. PPR Realty, Inc., 204 F.3d 867, 880 (9th

8    Cir. 2000) (explaining that a “district court lacks jurisdiction to modify an injunction once it
9    has been appealed except to maintain the status quo among the parties”); Flynt Distrib. Co. v.

10   Harvey, 734 F.2d 1389, 1392 n.1 (9th Cir. 1984) (“The district court had no jurisdiction to

11   ‘modify and supersede’ its order after the filing of the notice of appeal.”). Nevertheless,

12   pursuant to Federal Rule of Civil Procedure 62.1, the Court may defer considering Plaintiffs’

13   forthcoming motion for preliminary injunction until after the Ninth Circuit has resolves

14   Defendants’ appeal or the Court may issue an indicative ruling, stating that it would deny

15   Plaintiffs’ motion for preliminary injunction if the Ninth Circuit remands for that purpose. See

16   Fed. R. Civ. P. 62.1(a)(1), (3). Defendants, therefore, believe it is appropriate for the parties to

17   proceed with briefing on plaintiffs’ motion for preliminary injunction despite Defendants’

18   pending appeal.

19          The jurisdictional position above is not shared by Plaintiffs. Plaintiffs intend to bring a
20   preliminary injunction motion pursuant to Federal Rule of Civil Procedure 65(a) and do not

21   agree that the temporary restraining order issued by the Court on February 3, 2017, is an

22   “injunction” for purposes of the cases cited above. Plaintiffs agree on the briefing schedule set

23   out above for a preliminary injunction motion.

24          For these reasons, the parties respectfully request that the Court enter the briefing

25   schedule set forth above.
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     JOINT STATUS REPORT                              2                   ATTORNEY GENERAL OF WASHINGTON
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1    DATED this 6th day of February, 2017.
2    Respectfully submitted,
3
     CHAD A. READLER
4    Acting Assistant Attorney General                 /s/ Colleen Melody__________
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     Director, Federal Programs Branch                 Attorney General
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     JOHN R. TYLER                                     Solicitor General
7    Assistant Director, Federal Programs Branch       Colleen M. Melody, WSBA #42275
8                                                      Civil Rights Unit Chief
     /s/ Michelle R. Bennett
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             Case 2:17-cv-00141-JLR Document 56 Filed 02/06/17 Page 4 of 4




1                                    CERTIFICATE OF SERVICE
2
            I hereby certify that on February 6, 2017, I electronically filed the foregoing Opposition
3

4    to Plaintiff’s Motion for Temporary Restraining Order using the Court’s CM/ECF system,

5    causing a notice of filing to be served upon all counsel of record.

6
                                                     Dated:       February 6, 2017
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                                                                  /s/Colleen Melody____
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